Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 1 of 13 PageID 1
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 2 of 13 PageID 2
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 3 of 13 PageID 3
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 4 of 13 PageID 4
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 5 of 13 PageID 5
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 6 of 13 PageID 6
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 7 of 13 PageID 7
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 8 of 13 PageID 8
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 9 of 13 PageID 9
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 10 of 13 PageID 10
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 11 of 13 PageID 11
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 12 of 13 PageID 12
Case 5:22-cv-00158-CEM-PRL Document 1 Filed 03/23/22 Page 13 of 13 PageID 13
